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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JOHN KARPILOVSKY and JIMMIE
 CRIOLLO, JR., individually and on behalf of
 all others similarly situated,
                                                       Case No. 1:17-cv-01307

                        Plaintiff                      Hon. Harry D. Leinenweber

             v.

 ALL WEB LEADS, INC., a Delaware
 corporation,

                        Defendant.


                           FINAL APPROVAL ORDER AND JUDGMENT

            The Court having held a Final Approval Hearing on August 8, 2019, notice of the Final

Approval Hearing having been duly given in accordance with this Court’s April 4, 2019 Order

Granting Preliminary Approval of Class Settlement and Direction of Notice Under Rule 23(e)

(Dkt. 157) (“Preliminary Approval Order”), and having considered all matters submitted to it at

the Final Approval Hearing and otherwise, and finding no just reason for delay in order of this

dismissal and good cause appearing therefore,

            It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

            1.     The Settlement Agreement dated April 4, 2019, including its exhibits (the

“Settlement Agreement”), and the definition of words and terms contained therein are

incorporated by reference in this Order. The terms of this Court’s Preliminary Approval Order

are also incorporated by reference in this Order.

            2.     This Court has jurisdiction over the subject matter of the Action and over the

Parties, including all members of the following Settlement Class from this Court’s Preliminary




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Approval Order comprised of Plaintiffs and all persons listed in Exhibit 1 to the Settlement

Agreement.

            3.   The Court hereby finds that the Settlement Agreement is the product of arm’s-

length settlement negotiations between the Plaintiffs and Class Counsel, and Defendant and their

counsel.

            4.   The Court hereby finds and concludes that Class Notice was disseminated to

members of the Settlement Class in accordance with the terms set forth in the Settlement

Agreement and that Class Notice and its dissemination were in compliance with this Court’s

Preliminary Approval Order.

            5.   The Court further finds and concludes that the Class Notice and claims

submission procedures set forth in the Settlement Agreement fully satisfy Rule 23 of the Federal

Rules of Civil Procedure and the requirements of due process, were the best notice practicable

under the circumstances, provided individual notice to all Settlement Class Members who could

be identified through reasonable effort, and support the Court’s exercise of jurisdiction over the

Settlement Class as contemplated in the Settlement and this Order.

            6.   This Court hereby finds and concludes that the notice provided by the Settlement

Administrator to the appropriate state and federal officials pursuant to 28 U.S.C. § 1715 fully

satisfied the requirements of that statute.

            7.   The Court hereby finally approves the Settlement Agreement and the Settlement

contemplated thereby, and finds that the terms constitute, in all respects, a fair, reasonable, and

adequate settlement as to all Settlement Class Members in accordance with Rule 23 of the

Federal Rules of Civil Procedure, and directs its consummation pursuant to its terms and

conditions. Each Settlement Class Member is hereby bound by the Settlement Agreement.




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            8.    The Court hereby finds that the Settlement Class Members have been adequately

represented by the Class Representatives and Class Counsel.

            9.    This Court hereby dismisses, with prejudice and without leave to amend and

without costs to any party, the Action and all claims against Defendant in the Action by current

and former plaintiffs.

            10.   Plaintiffs and each and every one of the Settlement Class Members, as well as

their respective assigns, heirs, executors, administrators, successors, representatives, agents,

partners, attorneys, predecessors-in-interest, and any (past or present) authorized users of their

cellular or residential telephones unconditionally, fully, and finally release, resolve, relinquish

and forever discharge each and every one of the Released Parties from each of the Released

Claims. The Plaintiffs and the Settlement Class Members further agree that they will not

institute any action or cause of action (in law, in equity or administratively), suits, debts, liens, or

claims, known or unknown, fixed or contingent, which they may have or claim to have, in state

or federal court, in arbitration, or with any state, federal or local government agency or with any

administrative or advisory body, arising from or related in any way to the Released Claims. The

Released Claims specifically extend to claims that Plaintiffs and Settlement Class Members do

not know or suspect to exist in their favor at the time that the Settlement Agreement and the

releases contained therein become effective. This release shall be interpreted to the fullest extent

of res judicata principles.   In addition, any rights of the Class Representatives and each and

every one of the Settlement Class Members to the protections afforded under Section 1542 of the

California Civil Code and/or any other similar, comparable, or equivalent laws, are terminated.

            11.   Plaintiffs and each and every Settlement Class Member, as well as their respective

assigns, heirs, executors, administrators, successors, representatives, agents, partners, attorneys,




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predecessors-in-interest, and any (past or present) authorized users of their telephones, is hereby

permanently barred and enjoined from commencing, instituting, continuing, pursuing,

maintaining, prosecuting, or enforcing any Released Claims (including, without limitation, in

any individual, class or putative class, representative or other action or proceeding), directly or

indirectly, in any judicial, administrative, arbitral, or other forum, against the Released Parties.

This permanent bar and injunction is necessary to protect and effectuate the Settlement

Agreement, this Order, and this Court’s authority to effectuate the Settlement Agreement, and is

ordered in aid of this Court’s jurisdiction and to protect its judgments.

            12.   The Settlement Agreement (including, without limitation, its exhibits), and any

and all negotiations, documents, and discussions associated with it, shall not be deemed or

construed to be an admission or evidence of any violation of any statute, law, rule, regulation or

principle of common law or equity, of any liability or wrongdoing, by Defendant, or of the truth

of any of the claims asserted by Plaintiffs in the Action. Further, the Settlement Agreement and

any and all negotiations, documents, and discussions associated with it, will not be deemed or

construed to be an admission by Defendant that the Action is properly brought on a class or

representative basis, or that classes may be certified for any purpose. To this end, the settlement

of the Action, the negotiation and execution of the Settlement Agreement, and all acts performed

or documents executed pursuant to or related to the Settlement Agreement: (i) are not and will

not be deemed to be, and may not be used as, an admission or evidence of any wrongdoing or

liability on the part of Defendant or of the truth of any of the allegations in the Action; (ii) are

not and will not be deemed to be, and may not be used as an admission or evidence of any fault

or omission on the part of Defendant in any civil, criminal, or administrative proceeding in any

court, arbitration forum, administrative agency, or other tribunal; and, (iii) are not and will not be




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deemed to be and may not be used as an admission of the appropriateness of these or similar

claims for class certification. Further, evidence relating to the Settlement Agreement shall not be

discoverable or used, directly or indirectly, in any way, whether in the Action or in any other

action or proceeding, except for purposes of enforcing the terms and conditions of the Settlement

Agreement, the Preliminary Approval Order, and/or this Order.

            13.   If for any reason the Settlement terminates, then certification of the Settlement

Class shall be deemed vacated. In such an event, the certification of the Settlement Class for

settlement purposes or any briefing or materials submitted seeking certification of the Settlement

Class shall not be considered in connection with any subsequent class certification issues, and

the Parties shall return to the status quo ante in the Action, without prejudice to the right of any

of the Parties to assert any right or position that could have been asserted if the Settlement had

never been reached or proposed to the Court.

            14.   In the event that any provision of the Settlement or this Order is asserted by

Defendant as a defense in whole or in part (including, without limitation, as a basis for a stay) in

any other suit, action, or proceeding brought by a Settlement Class Member or any person

actually or purportedly acting on behalf of any Settlement Class Member(s), that suit, action or

other proceeding shall be immediately stayed and enjoined until this Court or the court or

tribunal in which the claim is pending has determined any issues related to such defense or

assertion. Solely for purposes of such suit, action, or other proceeding, to the fullest extent they

may effectively do so under applicable law, the Parties irrevocably waive and agree not to assert,

by way of motion, as a defense or otherwise, any claim or objection that they are not subject to

the jurisdiction of the Court, or that the Court is, in any way, an improper venue or an

inconvenient forum. These provisions are necessary to protect the Settlement Agreement, this




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Order and this Court’s authority to effectuate the Settlement, and are ordered in aid of this

Court’s jurisdiction and to protect its judgment.

            15.   The Court shall address Class Counsel’s application for fees and costs, as well as

the Plaintiffs’ request for incentive awards, in a separate Order.

            16.   Finding that there is no just reason for delay, the Clerk of the Court is directed to

enter this Order on the docket and it shall serve as final judgment pursuant to Rule 54(b)

forthwith.

            17.   The Court retains jurisdiction of all matters relating to the interpretation,

administration, implementation, effectuation, and enforcement of the Settlement.



            IT IS SO ORDERED.




DATED: 8/8/2019                                  ________________________________________
                                                 THE HONORABLE HARRY D. LEINENWEBER
                                                 UNITED STATES DISTRICT JUDGE




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